                 Case 1:21-cv-04807-VEC Document 57 Filed 11/03/21 Page 1 of 2




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         November 3, 2021


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         Hon. Valerie E. Caproni
         United States District Judge
         U.S.D.C. for the Southern District of New York
         40 Foley Square, Courtroom 443
         New York, NY 10007

                  Re:       City of New York v. Exxon Mobil Corporation, et al.,
                            Case No. 1:21-cv-04807-VEC

         Dear Judge Caproni:

                 We represent Defendants Exxon Mobil Corporation and ExxonMobil Oil
         Corporation in the above-captioned matter and submit this letter on behalf of all Defendants
         in response to the Court’s Order to Show Cause as to whether this action should be stayed
         pending the Second Circuit’s decision in Connecticut v. Exxon Mobil Corporation, No. 21-
         1446 (2d Cir. Oct. 5, 2021).1 See Dkt. 55. Plaintiff did not take a firm position in its
         October 19 response—simply noting that the motion to remand is “fully briefed and ready


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             This submission does not operate as an admission of any factual allegation or legal conclusion and is
             submitted subject to and without waiver of any right, defense, affirmative defense, claim, or objection,
             including lack of personal jurisdiction, insufficient process, or insufficient service of process. See, e.g.,
             Cantor Fitzgerald, L.P. v. Peaslee, 88 F.3d 152, 157 n.4 (2d Cir. 1996); Blau v. Allianz Life Ins. Co. of
             N. Am., 124 F. Supp. 3d 161, 171 n.6 (E.D.N.Y. 2015).
      Case 1:21-cv-04807-VEC Document 57 Filed 11/03/21 Page 2 of 2

Hon. Valerie E. Caproni                                                                    2


to be decided by this Court” but acknowledging that the Court “may prefer to wait for
further guidance in Connecticut before proceeding” given the similar grounds for removal
at issue in that appeal. Dkt. 56.

        Defendants submit that a stay is appropriate. As Plaintiff concedes, the pending
appeal in Connecticut is likely to bear on the issues presented in the instant action. See
LaSala v. Needham & Co., 399 F. Supp. 2d 421, 427 (S.D.N.Y. 2005) (cited by Plaintiff).
In particular, the Second Circuit is poised to address central issues in this lawsuit—whether
federal common law or the federal officer removal statute provides federal jurisdiction over
claims akin to those asserted here. Compare Brief of Appellant Exxon Mobil Corp. at 3,
Connecticut, No. 21-1446 (2d Cir. Oct. 5, 2021), Dkt. 66, with Defs.’ Opp. to Pl.’s Mot. to
Remand §§ II, III, Dkt. 47. A stay while the Second Circuit addresses those issues would
“potentially absolve [the parties] of the need to litigate a variety of issues otherwise
presented here and thus avoid the need for unnecessary litigation.” In re MPM Silicones,
L.L.C., No. 15-CV-2280 (NSR), 2017 WL 4386378, at *2 (S.D.N.Y. Oct. 2, 2017).

        Staying this action will also best serve the interests of the courts by “promoting
judicial efficiency.” Credit Suisse Sec. (USA) LLC v. Laver, No. 18 CIV. 2920 (AT), 2019
WL 2325609, at *3 (S.D.N.Y. May 29, 2019). Additionally, a stay may “provide the Court
a more solid foundation on which to rule” on several questions raised in Plaintiff’s motion.
Mount v. PulsePoint, Inc., No. 13 Civ. 6592 (NRB), 2014 WL 902965, at *2 (S.D.N.Y.
Mar. 5, 2014). In light of this posture and Plaintiff’s acknowledgment of the valid reasons
for the Court’s contemplated stay, both the interests of the parties and the public interest
would best be served by a stay.

       For these reasons, Defendants submit that this action should be stayed pending
issuance of the mandate in Connecticut.

                                           Respectfully submitted,

                                           /s/ Justin Anderson

                                           Justin Anderson

cc:    All counsel via ECF
